               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:16-cr-00148-MR-DLH-2


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
ASHLEY CHRISTINA LUNSFORD,      )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s Motion to

Continue the Trial Term and Motion to Extend the Plea Deadline [Doc. 35].

      On December 6, 2016, the Defendant was charged along with a co-

defendant with four counts of Hobbs Act robbery, in violation of 18 U.S.C. §

1951(a). [Doc. 1]. The Defendant’s initial appearance was held on April 3,

2017, at which time she appeared with retained counsel. The Defendant’s

arraignment was held on April 5, 2017, at which time this matter was

scheduled for trial during the May 1, 2017 trial term.1




1 At her arraignment, the Defendant expressly consented to trial within thirty days of her

first appearance with counsel. See 18 U.S.C. § 3161(c)(2).




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      The Defendant now moves for a continuance of the trial date and for

an extension of the deadline to file a plea agreement in this case. For

grounds, counsel states that he has not reviewed all of the discovery in this

matter and has not had time to review the Government’s plea offer with the

Defendant. The Government does not oppose the Defendant’s motion.

[Doc. 35].

      The Court finds that the Defendant has not stated good cause for a

continuance of the trial date at this time. The Court, however, will allow the

Defendant additional time to review discovery and to review the plea offer

with her counsel.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Continue the Trial Term [Doc. 35] is DENIED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that the Defendant’s Motion to Extend the

Plea Deadline [Doc. 35] is GRANTED, and the deadline for the filing of a

plea agreement in this case is hereby EXTENDED to April 21, 2017.

      IT IS SO ORDERED.
                                Signed: April 18, 2017




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